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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-61923-CIV-SMITH

ABS-CBN CORPORATION, et al.,

Plaintiffs,

VS.

TFCTVLIVE.COM, et al.,
Defendants.
1
ORDER GRANTING MOTION TO UNSEAL
THIS CAUSE came before the Court upon Plaintiffs’ Motion to Unseal [DE 13]. Plaintiffs
request that all documents filed with the Court that have been restricted from the Court docket be
unsealed as a seal on this matter is no longer required. Accordingly, after careful consideration, it
is
ORDERED that:
1. Plaintiffs’ Motion to Unseal [DE 13] is GRANTED.
2. The Clerk of Court is hereby DIRECTED to UNSEAL all prior docket entries in
this case and return those portions of the Court file to the public records.

DONE AND ORDERED in Fort Lauderdale, Florida, this 21st day of August, 2019.

   

RODNEY SMITH
UNITED STATES DISTRICT JUDGE

 

 

cc: Counsel of Record
